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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

MAZIN BADAWI,                                      )
                                                   )
  Plaintiff                                        )
               v.                                  )
                                                   )       Case No. 1:22-cv-706 (LMB/WEF)
UR JADDOU, et al                                   )
                                                   )
  Defendants                                       )

       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)


COMES NOW Plaintiff, by and through undersigned Counsel, and pursuant to F.R.C.P. 41(a)(1)(A)(i),

notifies this Court that the instant action is voluntarily DISMISSED WITHOUT PREJUDICE, and as

background states the following:

   1. This action for declaratory review over a Federal agency action was filed June 24, 2022. Plaintiff

       alleged unlawful delay by Defendants in adjudicating Plaintiff’s application for naturalization.

   2. On September 15, 2022, Defendant USCIS denied Plaintiff’s petition, rendering this action moot.

   3. Defendants have filed neither an answer nor motion for summary judgment.


This 22nd day of September, 2022.
                                            Respectfully Submitted,

                                            THE HMA LAW FIRM, PLLC

                                                          /s/ Hassan Ahmad
                                            ___________________________
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